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                           UNITED STATES DISTRICT COURT
 7                        CENTRAL DISTRICT OF CALIFORNIA
 8                              WESTERN DIVISION
 9    MACOM TECHNOLOGY                              Case No. CV16-02859 CAS (PLAx)
10    SOLUTIONS HOLDINGS, INC., et al.
                                                    [PROPOSED] SCHEDULING
11                       Plaintiffs,                ORDER
12          v.
13    INFINEON TECHNOLOGIES AG, et
      al.,
14
15                       Defendants.

16
17         Pursuant to the Court’s Civil Minutes dated the May 29, 2018 (Dkt. 510), and

18   the parties’ agreement, it is hereby ORDERED that the following deadlines shall

19   apply to the following events in this case:

20
                      Event                         Prior Deadline     New Deadline
21
      Fact Discovery Cut-off                    June 29, 2018        August 31, 2018
22
23    Opening Expert Reports                    July 27, 2018        September 20,
24                                                                   2018

25    Rebuttal Expert Reports                   August 24, 2018      October 19, 2018
      Expert Discovery Cut-off                  September 14,        November 2, 2018
26                                              2018
27
28

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 1                       Event                         Prior Deadline      New Deadline
 2       Filing of dispositive motions             September 28,         November 16,
                                                   20181                 2018
 3
         Exchange Contentions of Law and           September 28,         November 16,
 4       Fact, disclosing which of the party’s     2018                  2018
         pleaded claims and defenses the party
 5       plans to pursue, together with the
         party’s contentions regarding the
 6       applicable facts and law.
 7       Response to dispositive motions           October 12, 2018      December 5, 2018
 8       Reply in support of dispositive           October 26, 2018      December 19, 2018
 9       motions
         Hearing on dipositive motions             November 5, 2018      January 7, 2018
10
         Exchange deposition designations and November 16,               January 15, 2018
11       exhibits                             2018
12       Objections to deposition designations     December 7, 2018      January 29, 2018
13       and exhibits; counter-designations
         Meeting of counsel before Pretrial        December 19,          January 31, 2018
14       Conference                                2018
15       Submit jury instructions and proposed January 7, 2019           February 7, 2018
16       voir dire
         Filing of Motions In Limine               January 7, 2019       February 7, 2018
17
         File Memorandum of Contentions of         January 14, 2019      February 13, 2018
18       Fact and Law; Exhibit & Witness
19       Lists

20       Submissions regarding disputed jury       January 21, 2019      February 19, 2019
         instructions
21       Response to motions in limine             January 24, 20192     February 21, 2019
22       File pretrial conference order            January 24, 2019      February 21, 2019
23
24   1
           If motions for summary judgment are filed earlier than this deadline, they shall
25         be noticed for hearing at least six weeks after the filing date, with the opposition
           due four weeks before the hearing and the reply brief due two weeks before the
26         hearing, unless otherwise agreed by the parties or ordered by the Court.
     2
27         This deadline applies if a party files a motion in limine on February 7, 2019. If
           a motion in limine is filed earlier, the response shall be due two weeks after the
28         motion is filed.

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 1                    Event                    Prior Deadline     New Deadline
 2    Pretrial Conference/Hearing on       February 4, 2019     __________, 2019
      Motions in Limine                    (11:00 a.m. PT)      (11:00 a.m. PT)
 3                                         Revised in Dkt.
 4                                         510 to:
                                           March 4, 2019
 5                                         (11:00 a.m. PT)
 6    Deadline to disclose graphic and     February 13, 2019    March 13, 2019
 7    illustrative material

 8    Deadline to submit Trial Brief       February 18, 2019    March 18, 2019
      Jury Trial                           February 26, 2019    __________, 2019
 9                                         (9:30 a.m. PT)       (9:30 a.m. PT)
10                                         Revised in Dkt.
                                           510 to:
11
                                           March 26, 2019
12                                         (9:30 a.m. PT)
13
14
      DATED: _____________, 2018
15                                              HON. CHRISTINA A. SNYDER
                                                UNITED STATES DISTRICT JUDGE
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